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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                                LAFAYETTE DIVISION


  To:           All Counsel of Record

  Issued By:    Judge Robert R. Summerhays

  Re:           AIG Specialty Insurance Company v. Knight Oil Tools, Inc.
                21-cv-4191

  Date:         February 23, 2022


                                        MINUTE ENTRY

          The Motion to Strike [ECF No. 15] is REFERRED to Magistrate Judge Whitehurst
